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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                                   *
                                                           *
           v.                                              *      CRIMINAL NO. LKG-22-007
                                                           *
MARILYN MOSBY,                                             *
                                                           *
                   Defendant.                              *
                                                        *******

         GOVERNMENT’S MOTION FOR LEAVE TO FILE A MOTION IN LIMINE

           The United States of America seeks leave to a file a motion in limine contained at Exhibit

A.1 As discussed at the motions hearing on September 7, 2022, at the request of defense counsel,

the government prepared stipulations concerning certain anticipated testimony at trial. On Friday,

September 9, 2022, defense counsel informed the government the defendant would not stipulate

regarding any proposed matter.             Defense counsel did not propose alternate stipulations or

modifications.

           As a result of the failure to agree upon stipulations, defense counsel’s statements on

September 7, 2022 regarding anticipated testimony, and the Court’s ruling on September 8, 2022,

the government now seeks leave to file the attached motion in limine to admit certain sanitized

statements by the defendant at trial.

           Good cause exists to file the motion because the facts giving rise to the motion are recent,

and the government had a basis for believing defendant would respond with a counteroffer of some

kind regarding the stipulations, since the defendant asked for them as an initial matter.

Adjudicating the issues contained in the motion in limine in advance of trial will spare the Court

and jury’s time during trial. A proposed order is attached.



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    The proposed motion is also contained at ECF 109.
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                             Respectfully submitted,

                             Erek L. Barron
                             United States Attorney


                       By:   _______/s/_____________________
                             Leo J. Wise
                             Sean R. Delaney
                             Aaron S.J. Zelinsky
                             Assistant United States Attorneys




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this day, a copy of the foregoing motion was electronically

filed via CM/ECF which provides notice to counsel of record.


                                           ___________/s/_______________
                                           Aaron S.J. Zelinsky
                                           Assistant United States Attorney




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